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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
________________________________________
WESTERN VALUES PROJECT                   :
                                         :
            Plaintiff,                   :
                                         :
      v.                                 : Civil Action No. 17-01671-CRC
                                         :
U.S. DEPARTMENT OF JUSTICE               :
                                         :
            Defendant.                   :
________________________________________:

PLAINTIFF'S REPLY IN SUPPORT OF ITS CROSS-MOTION FOR SUMMARY
                          JUDGMENT

        In this Freedom of Information Act (“FOIA”), 5 U.S.C. § 552 case, defendant

U.S. Department of Justice's ("DOJ") component, the Office of Legal Counsel ("OLC")

continues to make the novel assertion that it can neither confirm nor deny the existence of

certain records pertaining to two FOIA requests that seek documents that mention,

describe, refer to, or relate to a request or effort to revisit, rescind, amend, or revoke the

2000 OLC opinion titled Administration of Coral Reef Resources in the Northwest

Hawaiian Islands dated September 15, 2000 and/or the 1938 Attorney General Opinion

titled Proposed Abolishment of Castle Pinkney National Monument, 39 Op. Att'y Gen.

185 (1938) as well as claiming that it conducted an adequate search for communications

from four specific individuals and institutions.

        As has been established previously in plaintiff's memorandum in support of its

cross-motion for summary judgment and in opposition to defendant's motion for

summary judgment, ("Plaintiff's Memo.") [ECF No. 13-1], the DOJ has not established

that its response of not confirming or denying that responsive records exist was proper;

nor has it established that if responsive material does exist, the material is privileged
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pursuant to FOIA Exemption 5. Furthermore, the DOJ has not established that its search

for certain of the requested information was adequate under the FOIA. Thus, summary

judgment continues to not be appropriate for defendant, and plaintiff is entitled to

summary judgment on its cross-motion for summary judgment.

                    I. DOJ'S GLOMAR RESPONSE IS IMPROPER

         The government claims that it has construed plaintiff's requests as drafted and

responding to the request "would have amounted to an admission or denial that, inter alia,

the Executive Branch sought OLC's legal advice relating to the specified opinion(s)

and/or that OLC engaged in deliberations relating to the specified opinion(s).

Defendant's Reply in Further Support of Defendant's Motion for Summary Judgment and

Opposition to Plaintiff's Cross-Motion for Summary Judgment ("Defendant's Reply") at 2

[ECF No. 15]. Defendant fails to establish, however, how these harms allow it to neither

confirm nor deny that responsive records exist. As defendant concedes, there are no

cases upholding Glomar responses under FOIA Exemption 5. Id. Further, the case cited

by defendant found an invocation of a Glomar response only for FOIA Exemption 7(C)

and specifically did not address, consider or analyze in any way the use of a Glomar

response for FOIA Exemption 5. Judicial Watch, Inc. v. U.S. Dep't of Justice, 898 F.

Supp. 2d 93, 107 (D.D.C. 2012). The only reference to Exemption 5 was the court's

noting that it need not address the government's attempted use of the appropriateness of

the Glomar response for the Exemption due to its finding on Exemption 7(C). Id. at 106

n.10.

         Defendant states that plaintiff does not cite any case that "bars an agency from

asserting a Glomar response in the context of this case. Defendant's Reply at 2.



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However, it is defendant's responsibility to establish that its withholding decision is

appropriate under the FOIA. 5 U.S.C. § 552(a)(4)(B) (2006 & Supp. IV 2010); see DOJ

v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 755 (1989); Campaign v.

FDA, 511 F.3d 187, 190 (D.C. Cir. 2007). Thus, despite defendant's argument, the

burden is simply not on the plaintiff.1

       Defendant next argues that revealing whether OLC may have considered an

action would reveal information that is protected under the deliberative process privilege.

Defendant's Reply at 3. However, the fact that a deliberative process exists within OLC

itself is not protected by the FOIA nor does defendant establish that it is. Given the

nature of OLC and its responsibilities to provide legal advice to the Executive Branch,

every internal communication could be construed as deliberative under OLC's theory.

Defendant argues that OLC deliberations would be chilled and the willingness of the

Executive Branch to seek OLC legal advice would be inhibited if the deliberations were

subject to disclosure. Id. Defendant confuses the appropriateness of the use of the

Glomar response with the disclosure of documents. At present, this case concerns the

government's refusal to confirm nor deny that documents exist; whether documents, if

they exist, may be disclosed is not an issue before the Court as defendant has not

provided any Vaughn index justifying the non-disclosure of any documents.




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  Defendant also notes that plaintiff overlooks paragraph 17 of the First Colborn
Declaration (ECF No. 11-2) where he opines on why it was proper to give a Glomar
response to any documents that "discuss, summarize, or analyze, or include/included as
an attachment the American Enterprise Institute's Report in arguing why a Glomar is not
appropriate. Defendant's Reply at 2-3. Even if plaintiff overlooked this conclusory
paragraph, it does not change the fact that Defendant has continued to fail to justify its
use of a Glomar response for all portions of plaintiff's request that it invoked the
response.
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        Defendant believes that plaintiff ignores the function of OLC and the explanation

provided by OLC as to why its analysis should not be disclosed. Defendant's Reply at 4

citing the first Colborn Declaration, ¶8. Plaintiff does not ignore these arguments made

by defendant. However, these arguments again go to non-disclosure of records not the

issue of whether OLC properly did not confirm nor deny that responsive records exist.

Defendant is the one conveniently ignoring what it is trying to protect.

        Defendant next argues that it is not required to submit a Vaughn index because it

properly invoked a Glomar response. Defendant's Reply at 4. However, as established

by plaintiff, defendant has not properly invoked a Glomar. Thus, as established by

plaintiff, without a Vaughn index, Plaintiff's Memo. at 16, defendant has not established

that any records are protected by the privileges of Exemption 5.

        Defendant states that plaintiff's arguments concerning "working law" and "secret

law" are not correct because OLC advice "is not the law of an agency unless the agency

adopts it" citing Elec. Frontier Found. v. U.S. Dep't of Justice, 739 F.3d 1, 8 (D.C. Cir.

2014). However, OLC does not establish that the agencies and/or Trump Administration

did not adopt the OLC advice sought in this matter. Thus, OLC's dismissal of plaintiff's

arguments are unfounded as OLC offers no proof that its advice was not treated as either

"working law" or "secret law" as discussed previously by plaintiff.

        Further, defendant asserts that plaintiff mischaracterizes the attorney-client

privilege. Defendant's Reply at 5. However, even under defendant's definition of the

privilege it still doesn't establish that the privilege applies to either the documents in this

case or the defendant's attempted use of a Glomar response to neither confirm nor deny




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that the requested records exist as the mere fact of the existence of records would not

waive confidentiality.

        Similarly, defendant again confuses the difference between confirming or denying

whether records exist and the actual release of the records when it attacks plaintiff's

challenge to the Presidential communications privilege. Id. at 5. The confirmation of

records would not in any way reveal information protected by the privilege nor does

plaintiff's arguments that the government must confirm or deny the existence of records

undermine its position concerning defendant's response.

        Defendant has not established that its response that it can neither confirm nor

deny records responsive to plaintiff's requests is proper. Further, defendant has not

established that the records, if they do exist, are exempt from the FOIA pursuant to

Exemption 5. Defendant's motion for summary judgment on its Glomar response should

be denied and plaintiff's cross-motion should be granted.

  II. DEFENDANT HAS STILL NOT CONDUCTED AN ADEQUATE SEARCH

        OLC continues to defend its search as adequate for records pertaining to one part

of one of plaintiff's requests. This portion of the request sought records pertaining to the

request for communications between OLC and any of the following people or

institutions:

                a.) John Yoo (jyoo@law.berkeley.edu and/or any email
                address associated with John C. Yoo)
                b.) Todd Gaziano (tfg@pacificlegal.org and/or any email
                address associated with Todd F. Gaziano)
                c.) Pacific Legal Foundation staff (@pacificlegal.org)
                d.) American Enterprise Institute Staff (@aei.org).

Declaration of Paul F. Colborn dated February 8, 2018 [ECF No. 11-2), ¶19.




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       Following plaintiff's objections to its original search, OLC went back and

conducted what it believed was a broader search of all OLC employees. Declaration of

Paul P. Colborn dated April 30, 2018 ("2nd Colborn Decl."), ¶4. Defendant believes this

second search cures the deficiencies brought out by plaintiff and its search for records

was adequate.

       For a search to be found adequate under the FOIA in this Circuit, an “agency must

demonstrate that it has conducted a ‘search reasonably calculated to uncover all relevant

documents.’” Weisberg v. U.S. Department of Justice, 745 F.2d 1476, 1485 (D.C. Cir.

1984) (quoting Weisberg v. Department of Justice, 705 F.2d 1344, 1350-51 (D.C. Cir.

1983). An agency must demonstrate “beyond material doubt that its search was

reasonably calculated to uncover all relevant documents.” Valencia-Lucena v. United

States Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999). Defendant has still failed to

meet this burden.

       For a number of reasons, the OLC search still fails to meet the definition of an

adequate search as it's search was not designed to uncover all relevant documents.

Initially, while OLC did claim to have all of its employees search for responsive records,

no details on how this search or the previous searches were provided (i.e., how did these

employees actually conduct the searches). The only details provided about this

supplemental search was the statement "[n]o OLC employee identified or reported being

aware of any such records. 2nd Colborn Decl.,¶4.

       Further, defendant does not address whether it looked for any electronic non-email

records. As stated in its initial brief, there is no mention of any searches for text messages,

phone messages/logs, or any other non-email communications responsive to plaintiff's

request. Plaintiff's Memo. at 6-7. Plaintiff sought "communications" between certain

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parties and the OLC. Defendant did not mention any description of a search of any text

messages on any cell phones issued to OLC employees. Nor does OLC conclude that

there are no other communication methods used within its offices. Thus, the failure to

search for text messages and any other communication device and/or technique is yet

another reason the search that was conducted was not reasonable.

        Finally, as previously address by plaintiff, OLC fails to explain how certain located

files were determined to be non-responsive to the request. Plaintiff's Memo. at 6. Without

further explanation this material should be processed and released to plaintiff.

        Thus, defendant's description of its search for records, its failure to search for

other electronic records that were not emails, and to describe what records were found

but deemed unresponsive continue to all be reasons that defendant’s search for responsive

records was clearly not "reasonably calculated to uncover all relevant documents.”

Valencia-Lucena v. United States Coast Guard, 180 F.3d 321, 325 (D.C. Cir. 1999).

Thus, summary judgment on defendant's search is not appropriate and plaintiff's cross-

motion should be granted.




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                                      CONCLUSION

       For the foregoing reasons and the entire record herein, plaintiff Western Values

Project respectfully requests that the Court grant its cross-motion for summary judgment,

deny defendant's motion for summary judgment, and order DOJ immediately to search

for and disclose the requested records in their entirety.

Dated: June 8, 2018                                    Respectfully submitted,

                                                       __________/s/___________
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